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                     United States Court of Appeals
                                     FIFTH CIRCUIT
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  LYLE W. CAYCE         ġ                                          TEL. 504-310-7700
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                                                               NEW ORLEANS, LA 70130

                               September 30, 2021
 MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
        No. 21-30505        State of Louisiana v. Biden
                            USDC No. 2:21-CV-778

 The court has taken the following action in this case:
 The joint motion of the parties to modify briefing schedule is
 GRANTED. Appellants’ brief is due November 16, 2021. Appellees’
 brief is due January 6, 2022. Any reply brief of appellants will
 be due within the usual 21 days after filing of the appellees’
 brief.
                                      Sincerely,
                                      LYLE W. CAYCE, Clerk




                                      By: _________________________
                                      Allison G. Lopez, Deputy Clerk
                                      504-310-7702


 Mr.   Andrew Marshall Bernie
 Mr.   Tony R. Moore
 Ms.   Elizabeth Baker Murrill
 Mr.   Thomas Wayne Ports Jr.
